Label Matrix for local noticing               Kansas City Divisional Office                 AFFILIATED MANAGEMEN
1083-2                                        161 Robert J. Dole US Courthouse              7219 METCALF SUITE 202
Case 15-20184                                 500 State Avenue                              OVERLAND PARK, KS 66204-1993
District of Kansas                            Kansas City, KS 66101-2448
Kansas City
Fri Feb 6 16:15:27 CST 2015
BBY/CBNA                                      BMO HARRIS TRUST& SAVI                        BMO Harris Bank NA
50 NORTHWEST POINT ROAD                       111 W MONROE ST                               c/o South & Associates
ELK GROVE VILLAGE, IL 60007-1032              CHICAGO, IL 60603-4095                        6363 College Blvd. Suite 100
                                                                                            Overland Park, KS 66211-1881


Best Buy Credit Services                      (p)CAPITAL ONE                                CBE Group
P.O. Box 790441                               PO BOX 30285                                  P.O. Box 930
St. Louis, MO 63179-0441                      SALT LAKE CITY UT 84130-0285                  Waterloo, IA 50704-0930



CCS/FIRST NATIONAL BAN                        CHASE                                         CITI
500 E 60TH ST N                               PO BOX 15298                                  PO BOX 6241
SIOUX FALLS, SD 57104-0478                    WILMINGTON, DE 19850-5298                     SIOUX FALLS, SD 57117-6241



CONSUMER COLLECTION MN                        CREDIT ONE BANK NA                            DEPT OF ED/NAVIENT
2333 GRISSOM DR                               PO BOX 98875                                  PO BOX 9635
SAINT LOUIS, MO 63146-3322                    LAS VEGAS, NV 89193-8875                      WILKES BARRE, PA 18773-9635



DISCOVER FIN SVCS LLC                         FNB OMAHA                                     First National Credit Card
PO BOX 15316                                  1620 DODGE ST                                 P.O. Box 5097
WILMINGTON, DE 19850-5316                     OMAHA, NE 68197-0003                          Sioux Falls, SD 57117-5097



Internal Revenue Service                      KANSAS COUNSELORS OF K                        KOHLS/CAPONE
P.O. Box 7346                                 PO BOX 14765                                  N56 W 17000 RIDGEWOOD DR
Philadelphia, PA 19101-7346                   SHAWNEE MISSION, KS 66285-4765                MENOMONEE FALLS, WI 53051-7096



Kansas Dept. of Revenue                       Kia Motors Finance                            MNET FIN INC
915 SW Harrison St.                           P.O. Box 105299                               95 ARGONAUT STE 250
Topeka, KS 66699-1000                         Atlanta, GA 30348-5299                        ALISO VIEJO, CA 92656-4142



Mobiloans                                     OCWEN LOAN SERVICING L                        OPTIMA RECOVERY SERVIC
151 Melacon Drive                             12650 INGENUITY DR                            6215 KINGSTON PK STE A
Marksville, LA 71351-3065                     ORLANDO, FL 32826-2703                        KNOXVILLE, TN 37919-4044



SEARS/CBNA                                    SPRINGLEAF                                    STATE FARM FINANCIAL S
PO BOX 6282                                   PO BOX 64                                     3 STATE FARM PLAZA N-4
SIOUX FALLS, SD 57117-6282                    EVANSVILLE, IN 47701-0064                     BLOOMINGTON, IL 61791-0002

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SYNCB/CARE CREDIT                                      SYNCB/JCP                                            SYNCB/OLD NAVY
950 FORRER BLVD                                        PO BOX 965007                                        PO BOX 965005
KETTERING, OH 45420-1469                               ORLANDO, FL 32896-5007                               ORLANDO, FL 32896-5005



SYNCB/PHILLIPS 66                                      SYNCB/QVC                                            TD BANK USA/TARGETCRED
4125 WINDWARD PLZ                                      PO BOX 965018                                        PO BOX 673
ALPHARETTA, GA 30005-8738                              ORLANDO, FL 32896-5018                               MINNEAPOLIS, MN 55440-0673



U.S. Trustee                                           (p)VON MAUR INC                                      Mark H Engen
Office of the United States Trustee                    6565 BRADY STREET                                    7905 W. 96th Street
301 North Main Suite 1150                              DAVENPORT IA 52806-2054                              Overland Park, KS 66212-3308
Wichita, KS 67202-4811


Maureen E. Engen                                       Teresa M. Kidd                                       William H Griffin
7905 W. 96th Street                                    PO Box 860451                                        5115 Roe Blvd Ste 200
Overland Park, KS 66212-3308                           Shawnee Mission, KS 66286-0451                       Roeland Park, KS 66205-2393




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CAP ONE                                                VON MAUR                                             End of Label Matrix
PO BOX 85520                                           6565 BRADY ST                                        Mailable recipients      41
RICHMOND, VA 23285                                     DAVENPORT, IA 52806-2054                             Bypassed recipients       0
                                                                                                            Total                    41




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